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                            UNITED STATE DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION

COMMERCE AND INDUSTRY
INSURANCE COMPANY
         Plaintiff,
     v.                                                    Case No.:

HR STAFFING, INC.
          Defendant.                                COMPLAINT

                                                    Breach of Contract Action
                                                    (28 U.S.C. § 1332)


       Plaintiff Commerce and Industry Insurance Company (hereinafter “Commerce &

Industry”) alleges the following against Defendant HR Staffing, Inc. (hereinafter “HR Staffing”):




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                                           PARTIES

       1.       Commerce & Industry is an insurance company duly organized and authorized to

transact insurance business under the laws of New York, in good standing, with its principal

place of business located at 175 Water Street, New York, NY 10038.

       2.       HR Staffing is incorporated in Oregon and maintains its principal place of

business in Oregon.

                                   JURISDICTION AND VENUE

       3.       There is complete diversity pursuant to 28 U.S.C. § 1332 because (1) Commerce

& Industry is a citizen of New York; and (2) HR Staffing is a citizen of Oregon.

       4.       As set forth below and incorporated herein, the amount in controversy

requirements of 28 U.S.C. § 1332 are satisfied in that there is more than $75,000 at issue,

exclusive of costs and interest.

       5.       This action properly lies in the District of Oregon pursuant to 28 U.S.C. §

1391(a), because HR Staffing’s failure to remit premiums occurred within this District.

                                   FACTUAL ALLEGATIONS

       6.       Commerce & Industry incorporates each of the preceding allegations as if fully

restated herein.

       7.       On or about June 20, 2011, Commerce & Industry issued to HR Staffing a

workers’ compensation insurance policy, WC XXX-XX-XXXX, which provided workers’

compensation coverage to HR Staffing’s California employees (“the California Policy”) for the

policy period June 20, 2011 through June 20, 2012 (the California Policy Period). A true and

correct copy of the California Policy is attached hereto as Exhibit A and incorporated herein by

reference.




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       8.      On or about June 20, 2011, Commerce & Industry issued to HR Staffing a

workers’ compensation insurance policy, WC XXX-XX-XXXX, which provided workers’

compensation coverage to HR Staffing’s employees in multiple states           (“the Multi-State

Policy”), for the policy period June 20, 2011 through June 20, 2012 (”the Multi-State Policy

Period”). A true and correct copy of the Multi-State Policy is attached hereto as Exhibit B and

incorporated herein by reference.

       9.      HR Staffing paid Commerce & Industry an estimated premium pursuant to the

terms and conditions of each Policy. See Exhibits A-B, Part 5(E). The estimated premium was

based upon documents and information provided by HR Staffing. The final premium for HR

Staffing was determined after Commerce & Industry conducted an audit of HR Staffing's actual

payroll for the applicable policy periods, pursuant to the express terms of the Policies. See

Exhibits A-B, Part 5(E).

       10.     HR Staffing failed to pay Commerce & Industry the final premiums for the

insurance coverage provided pursuant to the workers’ compensation insurance policies.

       11.     HR Staffing received and accepted the insurance coverage of the policies, and

agreed under the terms of the policies to pay all premiums due. See Exhibits A-B, Part 5(D).

       12.     Commerce & Industry fully performed all conditions required of it in connection

with providing the insurance coverage under the policies, as requested by HR Staffing.

       13.     HR Staffing agreed to pay the estimated premiums and accepted the fact that it

would be subject to a final audit to review the actual payroll records during the policy periods

for the Policies to determine the final premiums due. See Exhibits A-B, Part 5(E). Commerce

& Industry had the right to conduct the audits during regular business hours during the policy

periods and within three (3) years after the policy periods ended. See Exhibits A-B, Part 5(G).




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       14.     Pursuant to the policies, Commerce & Industry conducted an audit of HR

Staffing’s records for the respective policies. The audits found that COH owed the following

estimated and additional premiums (“Outstanding Premiums”):

             Policy Number                               Premium Due

             XXX-XX-XXXX (Additional Premium)            $ 237,811.00

             XXX-XX-XXXX (Additional Premium)            $ 30,658.00

             Total                                       $268,469.00



       15.     Invoices were sent to HR Staffing for the Outstanding Premiums due, but HR

Staffing has failed to remit payment. True and correct copies of the invoices sent to HR Staffing

for premiums due on the California Policy and the Multi-State Policy are attached as Exhibits C

and D, respectively.

       16.     To date, the remaining balance due from HR Staffing is $268,469.00, plus any

applicable costs and interest.

                            COUNT I – BREACH OF CONTRACT

       17.     Commerce & Industry incorporates each of the preceding allegations as if fully

restated herein.

       18.     Commerce & Industry issued the California Policy and the Multi-State Policy to

HR Staffing.

       19.     HR Staffing contracted for and received the benefits of coverage under the written

policies; in exchange, HR Staffing agreed to pay premiums due and owing to Commerce &

Industry.

       20.     The final premiums that HR Staffing owed for the policies were to be determined

pursuant to an audit of HR Staffing’s books and records. See Exhibits A-B, Part 5(G).


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       21.     The estimated premium that HR Staffing owed for the policies was determined

based on information provided by HR Staffing. See Exhibits A-B, Part 5(E, G).

       22.     Commerce & Industry conducted audits of HR Staffing's books and records,

requested additional information from HR Staffing, and used the proper classifications and rates

that applied to the business and work covered by each employee.

       23.     Commerce & Industry issued invoices to HR Staffing for the Outstanding

Premiums of $ 268,469.00.

       24.     HR Staffing has not paid the Outstanding Premiums.

       25.     As a result of the failure to pay the Outstanding Premiums Commerce & Industry

have suffered actual damages in the amount of $268,469.00, plus any additional pre-judgment

and post-judgment interest and costs.

       WHEREFORE, Commerce & Industry seek a judgment against COH in an amount no

less than Two Hundred Sixty-Eight Thousand Four Hundred Sixty-Nine Dollars and No Cents

($268,469.00), costs incurred, plus pre-judgment and post-judgment interest at the legal rate, and

such other and further relief as the Court deems appropriate and just.

                   COUNT II – QUANTUM MERUIT/UNJUST ENRICHMENT

       26.     Commerce & Industry incorporates each of the preceding allegations as if fully

restated herein.

       27.     In the alternative to any claim for breach of contract, HR Staffing is liable to

Commerce & Industry under the doctrine of quantum meruit/unjust enrichment.

       28.     At all relevant times herein, Commerce & Industry conferred benefits upon HR

Staffing by providing HR Staffing with workers’ compensation insurance coverage.

       29.         At all relevant times herein, HR Staffing had knowledge of the benefits conferred

by Commerce & Industry.




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        30.     HR Staffing voluntarily received and retained the benefits of workers’

compensation insurance coverage provided by Commerce & Industry. HR Staffing was enriched

by the benefits conferred by Commerce & Industry.

        31.    HR Staffing did not pay Commerce & Industry in full for the value of the benefits

received.

        32.    Commerce & Industry asserts that the unpaid value of benefits conferred to HR

Staffing equals $268,469.00.

        33.    Despite the receipt of the enrichment, HR Staffing has refused to make full

payment to Commerce & Industry for the enrichment received.

        34.    HR Staffing’s enrichment is unjust.

        35.    HR Staffing’s retention of benefits under these circumstances violates

fundamental principles of justice, equity and good conscience; the circumstances render HR

Staffing’s retention of the benefit inequitable unless HR Staffing pays Commerce & Industry for

the value of the benefit received.

        36.    As a result of HR Staffing’s unjust enrichment, Commerce & Industry is owed

$268,469.00, plus any additional pre-judgment and post-judgment interest and costs.

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       WHEREFORE, Commerce & Industry seek a judgment against HR Staffing in an

amount no less than Two Hundred Sixty-Eight Thousand Four Hundred Sixty-Nine Dollars and

No Cents ($268,469.00), costs incurred, plus pre-judgment and post-judgment interest at the

legal rate, and such other and further relief as the Court deems appropriate and just.

Dated: April 4, 2014.



                                              Respectfully submitted,


                                              By:    s/ Britta E. Warren
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                                                    ATTORNEYS FOR COMMERCE AND
                                                    INDUSTRY INSURANCE COMPANY




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